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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN

DAVID DYKEHOUSE, KRISTINA
BOSKOVICH, and ELIZABETH HAMBLIN, on
                                                Civil Action No. 1:18-cv-1225
behalf of themselves and all others similarly
situated,
                                                Hon. Robert J. Jonker
                    Plaintiffs,
                                                Magistrate Judge Phillip J. Green
      v.
                                                ORAL ARGUMENT
THE 3M COMPANY, a Delaware Corporation,         REQUESTED
GEORGIA-PACIFIC LLC, a Delaware
corporation,

                    Defendants.

           3M COMPANY’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                          MOTION TO DISMISS
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       Plaintiffs David Dykehouse, Kristina Boskovich, and Elizabeth Hamblin bring this

putative class action against 3M Company (“3M”) and Georgia-Pacific LCC (“Georgia-Pacific”)

to recover for the alleged contamination of the City of Parchment’s drinking water system by

chemicals known as per- and polyfluoroalkyl substances (“PFAS”). Plaintiffs’ claims against 3M

fail as a matter of law and should be dismissed with prejudice.

                                       BACKGROUND

       PFAS are a family of synthetic chemicals with a wide range of properties and industrial

and commercial applications. The complaint alleges that certain PFAS or PFAS-containing

products manufactured and sold by 3M were used “in products applied to paper, such as waxed

and foot contact paper,” at a paper mill (the “Mill”) operated by Georgia Pacific and its

predecessor entities. Dkt. 1 (“Compl.”) ¶¶ 26, 30-31, 92-94. The Mill then allegedly disposed of

its PFAS-containing waste at the Crown Vintage Landfill (“Landfill”), which was constructed,

operated, and maintained by Georgia Pacific and its predecessors. Id. ¶¶ 95-137. There are no

allegations that 3M ever operated or exercised control over the Landfill, disposed of PFAS or

PFAS-containing wastes there, or otherwise released PFAS directly into Michigan’s

environment.

       Plaintiffs allege that PFAS from the Landfill subsequently contaminated the City of

Parchment’s municipal water supply due to Georgia Pacific’s supposed failure to operate the

Landfill “in a safe and responsible manner.” Id. ¶¶ 3, 138-62. Plaintiffs further allege that PFAS

has a number of deleterious health effects and that 3M purportedly knew of these effects and

tried to conceal them. Id. ¶¶ 32-88. Plaintiffs claim that PFAS are hazardous substances and that

Plaintiffs’ exposure to PFAS in drinking water warrants continued medical monitoring. Id.

¶¶ 163-83.




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       Based on these allegations, Plaintiffs bring nine claims against 3M and Georgia-Pacific:

public nuisance (Count I); private nuisance (Count II); trespass (Count III); unjust enrichment

(Count IV); negligence (Count V); gross negligence (Count VI); defective design (Count VII);

failure to warn (Count VIII); and battery (Count IX). Because these claims fail as a matter of

law, and because further pleading could not cure the defects, the Court should dismiss the

complaint with prejudice for failure to state a claim.

                                          ARGUMENT

       To survive a motion to dismiss, a complaint must contain “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This

standard requires more than a “sheer possibility” that a defendant has acted unlawfully. Id. In

deciding whether a complaint states a claim, the Court should disregard “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements.” Id. Thus, the

Complaint “must contain either direct or inferential allegations with respect to all material

elements necessary to sustain a recovery under some viable legal theory.” Bickerstaff v.

Lucarelli, 830 F.3d 388, 396 (6th Cir. 2016).

I.     Plaintiffs Fail To State A Nuisance Claim (Counts I & II)

       Plaintiffs assert both public and private nuisance claims in their complaint. As an initial

matter, Plaintiffs fail to state a nuisance claim of either variety because, as a matter of law,

manufacturers and sellers lack the necessary control of their products after the point of sale and

therefore may not be held liable in nuisance for post-sale events.

       “In general, even though a nuisance may exist, not all actors are liable for the damages

stemming from the condition.” Sholberg v. Truman, 852 N.W.2d 89, 92 (Mich. 2014) (quoting

Cloverleaf Car Co. v. Phillips Petroleum Co., 540 N.W.2d 297, 300 (Mich. App. 1995)). “‘A


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defendant held liable for the nuisance must have possession or control’” of the source of the

nuisance. Id. In Gelman Sciences, Inc. v. Dow Chemical Co., for example, the Michigan Court of

Appeals reversed the denial of summary disposition of a nuisance claim against the seller of an

industrial solvent that allegedly contaminated the plaintiff’s land after the plaintiff purchased the

solvent and used it in a manufacturing process. 508 N.W.2d 142, 143 (Mich. App. 1993). The

court held that, “[b]ecause a seller in a commercial transaction relinquishes ownership and

control of its products when they are sold, it lacks the legal right to abate whatever hazards its

products may pose” and therefore may not be held liable in nuisance. Id. at 144. The court

accordingly ruled that “the trial court erred in denying defendants’ motions for the summary

disposition of plaintiff’s claim[] of nuisance.” Id.1

       Under these authorities, Plaintiffs fail to state a nuisance claim against 3M. Their

nuisance claims rest on an allegation that Defendants “caus[ed] PFAS contaminated water to be

delivered to the homes of Plaintiffs” and purportedly “substantially and unreasonably interfered

with Plaintiffs’ comfortable living and ability to use and enjoy their homes, constituting a

nuisance.” Compl. ¶¶ 185-86. But as mentioned, 3M did not dispose of PFAS or PFAS-

containing wastes at the Landfill and exercised no control over its products after selling them to

intermediaries for use at the Mill. The complaint alleges only that, after 3M sold the PFAS-

containing products, those products “were used” by others at the Mill and disposed of at the


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  See also, e.g., Cloverleaf Car, 540 N.W.2d at 301 (seller of gasoline was not liable in nuisance
for contamination caused by gasoline leak because seller “had no control over what happened to
the gasoline after it was delivered”); Detroit Bd. of Educ. v. Celotex Corp., 493 N.W.2d 513,
521-22 (Mich. App. 1992) (“manufacturers, sellers, or installers of defective products may not be
held liable on a nuisance theory for injuries caused by the defect”); McCrory ex rel. Jones v.
Ford Motor Co., 1996 WL 33323948, at *1 (Mich. App. July 9, 1996) (sellers of transformers
that leaked PCBs were not liable in nuisance because sellers “gave up ownership and control of
the products when they were sold”).




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Landfill. Compl. ¶ 92. Without an allegation that 3M controlled its PFAS products after sale, 3M

is not liable in nuisance for alleged contamination caused by the use or disposal of those products

by purchasers or third-parties. Gelman Scis., 508 N.W.2d at 144; Detroit Bd. of Educ., 493

N.W.2d at 522.

          Besides this fundamental defect, Plaintiffs’ public nuisance claim fails for the additional

reason that they have not (and cannot) plead that they suffered any harm different from the

general public. Plaintiffs’ claim is based upon alleged exposure to PFAS in the drinking water.

According to the Michigan Supreme Court, however, “[a]lthough the contamination of ground

water may give rise to an action for public nuisance, the plaintiffs must show harm of a kind

different from that suffered by other members of the general public exercising the right common

to the general public that was the subject of interference.” Adkins v. Thomas Solvent Co., 487

N.W.2d 715, 721 n.11 (Mich. 1992). Plaintiffs allege no such unique harm. They do not allege

that their own groundwater was contaminated or that they were otherwise affected differently

than anyone else serviced by Parchment’s municipal water system. On the contrary, at most

Plaintiffs offer the conclusory allegation, not that they suffered some unique harm, but that they

somehow suffered the same harm merely to a greater degree. See Compl. ¶ 189 (describing

alleged contamination as “especially injurious” to Plaintiffs compared with the public) (emphasis

added).

II.       Plaintiffs Fail To State A Trespass Claim (Count III).

          Under Michigan law, trespass requires “an unauthorized direct or immediate intrusion of

a physical, tangible object onto land over which the plaintiff has a right of exclusive possession.”

Adams v. Cleveland-Cliffs Iron Co., 602 N.W.2d 215, 222 (Mich. App. 1999). Plaintiffs’ trespass

claim fails for three reasons. First, the mere presence on land of a substance such as PFAS is not



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a trespass as a matter of law. Second, Plaintiffs do not and cannot allege a “direct or immediate

intrusion” on their land. Third, Plaintiffs lack a “right of exclusive possession” in Parchment’s

municipal water supply.

       A.      The Alleged Presence of PFAS Is Not A “Significant Physical Intrusion.”

       PFAS is not the kind of “tangible object” capable of trespass as a matter of Michigan law.

In Adams, a case alleging that a mine’s blasting operations caused dust to settle on the plaintiffs’

land, the Michigan Court of Appeals held that “the law of trespass in Michigan does not cover

airborne particulate.” Id. at 216. In so holding, the court observed that dust particles, although

“tangible objects in a strict sense,” are not “a significant physical intrusion” because they “do not

normally occupy the land on which they settle in any meaningful sense.” Id. at 223. The same is

true of PFAS. Indeed, other cases have extended Adams to groundwater contamination, holding

that “contaminants in groundwater, even more so than dust that settles on land, simply become[]

‘a part of the ambient circumstances of that space’ and will not support an action in trespass.”

Postma v. Cty. of Ottawa, 2004 WL 1949317, at *9 (Mich. App. Sept. 2, 2004) (emphasis added)

(quoting Adams, 602 N.W.2d at 223); accord Abnet v. Coca-Cola Co., 786 F. Supp. 2d 1341,

1346 (W.D. Mich. 2011) (“Michigan does not recognize claims of trespass where groundwater

contamination is the only alleged injury.”); see also Guertin v. Michigan, 2017 WL 2418007, at

*29 (E.D. Mich. June 5, 2017) (dismissing trespass claim based on contaminated water because

“the ‘tangible object’ requirement for trespass is not met by” an “intrusion of particulate

matter”), rev’d in part on other grounds sub nom. Guertin v. State, — F.3d —, 2019 WL 99088

(6th Cir. 2019). Plaintiffs’ trespass claim therefore fails as a matter of law at the threshold.




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       B.      Plaintiffs Do Not Allege A “Direct or Immediate Intrusion.”

       Plaintiffs also fail to allege a “direct or immediate intrusion.” An intrusion is direct only

when “‘an act is done with knowledge that it will to a substantial certainty result in the entry of

the foreign matter.’” Adams, 602 N.W.2d at 224. Because “the actor must intend to intrude on

the property,” “an action for trespass is not proper” “[i]f the intrusion was due to an accident

caused by negligence or an abnormally dangerous condition.” Cloverleaf Car, 540 N.W.2d at

302 (emphasis added). This is the sort of claim Plaintiffs have asserted. Plaintiffs do not allege

that 3M intended or even knew (let alone knew with “substantial certainty”) that its sale of

PFAS-containing products to the Mill would result in PFAS entering the municipal water supply.

Although Plaintiffs describe the Mill’s waste-disposal practices at length (Compl. ¶¶ 89-137),

they nowhere allege that 3M was aware of these practices, or of the Mill’s allegedly “negligent

and/or faulty construction, operation, maintenance, and/or use” of its Landfill. Id. ¶ 130. Even if

the mere sale of PFAS-containing products could be said to have “caused [PFAS] to spill into the

ground water” (a contention 3M vigorously disputes), Plaintiffs’ failure to allege facts showing

that 3M “intended this intrusion” alone defeats their trespass claim. Cloverleaf Car, 540 N.W.2d

at 302 (affirming dismissal of trespass claim against gasoline supplier).

       C.      Plaintiffs Have No Exclusive Property Right In Groundwater.

       Finally, Plaintiffs’ claim fails as a matter of law on a third independent ground—

Plaintiffs have not alleged that PFAS intruded “onto land over which [they have] a right of

exclusive possession.” In fact, Plaintiffs do not allege that PFAS is present on their property at

all—only that it has entered Parchment’s “municipal water system” and unidentified “private

wells in Parchment and Cooper Township.” Compl. ¶¶ 1-2, 140-42, 144-47, 175. It is well-

established that property owners have no right of exclusive possession in groundwater, including

the “water beneath one’s property.” Postma, 2004 WL 1949317, at *9; accord Abnet, 786 F.


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Supp. 2d at 1345-46 (collecting sources). Thus, even a charitable reading of Plaintiffs’

allegations cannot save their claim, as they have failed to identify any exclusive possessory right

with which PFAS has interfered.

       Because Plaintiffs cannot allege a “tangible object,” direct interference, or “a right of

exclusive possession,” the Court should dismiss their trespass claim with prejudice. Adams, 602

N.W.2d at 222-24.

III.   Plaintiffs Fail To State An Unjust Enrichment Claim (Count IV).

       The elements of an unjust enrichment claim are “(1) the receipt of a benefit by the other

party from the complaining party and (2) an inequity resulting to the complaining party because

of the retention of the benefit by the other party.” Karaus v. Bank of New York Mellon, 831

N.W.2d 897, 905 (Mich. App. 2012). Plaintiffs’ claim fails because, at a minimum, they allege

“no direct receipt of any benefit by [3M] . . . from the [Plaintiffs].” A & M Supply Co. v.

Microsoft Corp., 2008 WL 540883, at *2 (Mich. App. Feb. 28, 2008). Indeed, Plaintiffs do not

allege that they conferred a benefit on anyone. They contend only that “Defendants have

received the benefits of disposing of PFAS without incurring the costs associated with

conducting such disposal in a safer and more appropriate manner.” Compl. ¶ 210. In the absence

of “direct contact between [3M] and [Plaintiffs],” or “direct payment or other benefit from

[Plaintiffs],” Plaintiff’s claim must be dismissed. A & M Supply, 2008 WL 540883, at *2; accord

Martell v. Turcheck, 2008 WL 2714210, at *10-11 (E.D. Mich. July 7, 2008) (“With regard to

the first element, the defendant must have received a benefit directly from the plaintiff,” which,

“[a]t minimum, . . . involves some sort of direct contact between the parties”).2


2
 This District, among others, has dismissed unjust enrichment claims under Michigan law even
where a plaintiff did transact with the defendant but the interaction was too “indirect.” Lipov v.
Louisiana-Pacific Corp., 2013 WL 3805673, at *6 (W.D. Mich. July 22, 2013); see also Storey



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IV.     Plaintiffs Fail To State A Negligence Claim (Counts V & VI).

        “[T]o state a negligence claim on which relief may be granted, plaintiffs must prove

(1) that defendant owed them a duty of care, (2) that defendant breached that duty, (3) that

plaintiffs were injured, and (4) that defendant’s breach caused plaintiffs’ injuries.” Henry v. Dow

Chem. Co., 701 N.W.2d 684, 688 (Mich. 2005). Plaintiffs’ negligence claim fails for four

reasons. First, 3M had no relationship with Plaintiffs and therefore owed them no legal duty as a

matter of law. Second, several of Plaintiffs’ negligence theories are preempted by Michigan’s

product liability statute. Third, Plaintiffs’ remaining negligence theories are fatally defective as a

matter of law. Finally, Plaintiffs have not alleged a cognizable injury to person or property.

        Plaintiffs’ gross negligence claim also should be dismissed because gross negligence is

not an independent cause of action under Michigan law. And even if it were, Plaintiffs fail to

state a claim.

        A.       3M owed Plaintiffs no duty of care as a matter of law.

        Plaintiffs’ negligence claim fails at the threshold. “The most important factor” in

determining the existence of a duty is the “relationship between the [defendant] and the

plaintiff.” In re Certified Question from Fourteenth Dist. Ct. of Appeals of Tex., 740 N.W.2d

206, 211 (Mich. 2007) (quoting Buczkowski v. McKay, 490 N.W.2d 330, 333 n.5 (Mich. 1992)).

Indeed, “when there is no relationship between the parties, no duty can be imposed.” Id. at 212

(emphasis added). But Plaintiffs fail to allege any relationship with 3M. On the contrary, 3M’s

only relationship was with the Mill owners, whose alleged non-compliant “dump[ing]” of

chemical waste (e.g., Compl. ¶¶ 3, 130-33) 3M was not obligated to anticipate, much less

v. Attends Healthcare Prods., Inc., 2016 WL 3125210, at *12-13 (E.D. Mich. June 3, 2016)
(dismissing unjust enrichment claim because “[w]hatever benefit Plaintiffs conferred on
Defendant they conferred indirectly”). A fortiori, an unjust enrichment claim cannot survive
when there was no relationship between the plaintiffs and defendant.



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prevent. See Buczkowski, 490 N.W.2d at 334-35 (refusing to impose duty on retailer that sold

ammunition to inebriated customer who then accidentally shot plaintiff). At most, “the

relationship between [Plaintiffs] and [3M] was highly tenuous,” as Plaintiffs merely live near the

area where they allege 3M’s customer improperly disposed of its waste. In re Certified Question,

740 N.W.2d at 216.3 This is insufficient to state a claim.

       In the absence of a relationship with 3M, Plaintiffs’ negligence claims fail. Id. at 212

(“[W]hen there is no relationship between the parties, no duty can be imposed.”).

       B.      Michigan’s product liability statute preempts Plaintiffs’ negligence claim.

       These claims also fail on the independent ground that Plaintiffs’ putative common-law

negligence theories are really product liability claims governed exclusively by Michigan’s

product liability statute, MCL 600.2945 et seq. Plaintiffs allege that “Defendants” owed

Plaintiffs “a duty to exercise reasonable care in creating, selling, applying, and disposing of

PFAS substances.” Compl. ¶ 215. Of these, 3M is alleged only to have “creat[ed]” and “s[old]”

“PFAS substances.” E.g., id. ¶¶ 30-31, 34, 91-93.

       Michigan’s product liability statute, M.C.L. 600.2945 et seq., is a component of

Michigan’s “[t]ort reform legislation” that has “displaced the common law” of product liability.

Greene v. A.P. Prods., Ltd., 717 N.W.2d 855, 859 (Mich. 2006) (emphasis added). Under this

statute, any “action based on a legal or equitable theory of liability brought for . . . injury to a

person or damage to property caused by or resulting from the production of a product” is a

“[p]roduct liability action.” M.C.L. 600.2945(h). “Production,” in turn, includes the

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  As this tenuous relationship suggests, Plaintiffs essentially seek to saddle 3M with a duty to
“protect[] every person with whom [PFAS] come[s] into contact.” Id. at 217. But such a duty
“would impose an extraordinarily onerous and unworkable burden” of monitoring every disposal
of PFAS and any resulting migration. Id. Accordingly, the “‘burden [that would be imposed] on
the defendant’ prong” of Michigan’s duty analysis also weighs against finding that 3M owed
Plaintiffs a duty of care. Id.



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“manufacture, construction, design, formulation, . . . warning, instructing, marketing, [and]

selling” of the product at issue. Id. 600.2945(i). These are precisely the theories underlying

Plaintiffs’ negligence claims—that 3M failed to (1) “exercise ordinary care in the manufacture of

PFAS and PFAS-containing products,” (2) “warn of known harms of PFAS,” and (3) “warn

Plaintiffs . . . about the likelihood that their water supply was or would become contaminated.”

Compl. ¶ 219(a)-(b), (f) (emphases added).

       Plaintiffs may not evade this statute, and the limits it imposes, merely by reframing their

product liability claims as “negligence” claims in their complaint. Heaton v. Benton Constr. Co.,

780 N.W.2d 618, 623 (Mich. App. 2009) (“[T]he fact that plaintiffs’ theory of liability was one

of negligence does not preclude its action from coming within the statutory definition of a

products liability action”). Accordingly, the Court should dismiss Plaintiffs’ negligence claim

with prejudice to the extent it relies on an alleged design defect or failure to warn.4

       C.      Plaintiffs’ remaining negligence theories fail as a matter of law.

       Beyond the absence of a duty of care to Plaintiffs generally, see supra Section IV.A,

Plaintiffs’ remaining (non-product liability) negligence theories fail on multiple alternative

grounds. First, contrary to Plaintiffs’ assertion, 3M had no duty to “exercise due care by

undertaking response activity necessary to mitigate unacceptable exposure to hazardous

substances” or to “[t]ake reasonable precautions against the reasonably foreseeable acts or

omissions of a third party.” Compl. ¶¶ 216, 219(c), (e). Michigan’s Natural Resources and

Environmental Protection Act imposes these duties only on “[a] person who owns or operates

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  Furthermore, allowing Plaintiffs to clone their design defect and failure to warn claims under
the guise of a standalone negligence claim would be confusing, “repetitive[,] and unnecessary.”
Prentis v. Yale Mfg. Co., 365 N.W.2d 176, 186 (Mich. 1984); see also Johnson v. Chrysler
Corp., 254 N.W.2d 569, 571 (Mich. App. 1977) (“The addition of the [overlapping] count adds
only confusion, not substance.”).



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property” from which contamination emanated. M.C.L. 324.20107a(1).5 Plaintiffs do not allege

that 3M ever owned or operated the Landfill, so these duties do not extend to 3M.

       Second, as mentioned, Plaintiffs do not allege that 3M disposed of PFAS in Michigan

generally, let alone in the Landfill that is the subject of Plaintiffs’ claims. Accordingly, Plaintiffs

have failed to allege facts showing that 3M breached any duty “to exercise due care in the

disposal of PFAS, including the construction, operation, maintenance, use, and closure of the

Landfill.” Compl. ¶ 219(d). Where, as here, a plaintiff “fail[s] to allege that [a particular

defendant] breached a legal duty,” a negligence claim fails as a matter of law. Scribner v.

Charter Twp. of Independence, 2002 WL 87514, at *3 (Mich. App. Jan. 22, 2002) (affirming

dismissal for failure to state a claim); accord Coyer v. HSBC Mortg. Servs., 2011 WL 4502087,

at *5 (E.D. Mich. Sept. 28, 2011) (dismissing negligence claim for failure to allege breach of

duty where defendant “was not involved with” the injury-causing activity), aff’d sub nom. Coyer

v. HSBC Mortg. Servs., Inc., 701 F.3d 1104 (6th Cir. 2012).

       D.      Plaintiffs fail to allege cognizable physical injuries or property damage.

       Even if Plaintiffs had adequately alleged duty and breach, their negligence claim still

would fail because they allege no cognizable physical injury or property damage.




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 Plaintiffs incorrectly attribute these duties to M.C.L. 324.20101a, which instead describes when
a “lender holding a security interest in a facility” is considered to “participate[] in the
management of the facility.” See Compl. ¶ 216.



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                 1.      Michigan law requires a present, physical injury to state a negligence
                         claim.

          Plaintiffs allege they suffer from “increased risk of disease, disorder, and illness.” Compl.

¶ 222; see also id. ¶ 164 (alleging “a significantly increased risk of contracting one or more

diseases”). But allegations of future injury are insufficient to state a claim under Michigan law.

Plaintiffs’ failure to allege an existing health condition thus dooms their claim for personal

injury.

          In Henry v. Dow Chemical Co., the Michigan Supreme Court considered and rejected the

argument that exposure to a hazardous chemical is alone a cognizable injury under tort law. It

held that Michigan law “squarely rejects the proposition that mere exposure to a toxic substance

and the increased risk of future harm constitutes an ‘injury’ for tort purposes. It is a present

injury, not fear of an injury in the future, that gives rise to a cause of action under negligence

theory.” 701 N.W.2d at 688-89.

          The plaintiffs in Henry therefore did not state a claim for relief, even though they alleged

that the defendant “negligently released dioxin, a synthetic chemical that is potentially hazardous

to human health,” and that they were exposed to dioxin. Id. at 685-86. Relatedly, the Court also

held that a claim for “medical monitoring” “does not exist in Michigan.” Id. at 693. In short, “the

Michigan Supreme Court has squarely rejected the proposition that mere exposure to a toxic

substance and the increased risk of future harm constitutes an ‘injury’ for tort purposes.” Psycher

v. United States, 2017 WL 2904208, at *4 (E.D. Mich. July 7, 2017) (additional internal

quotation marks omitted).




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       Under Henry, Plaintiffs’ negligence claim is “precluded as a matter of law” to the extent

they seek recovery for personal injuries, and the Court should dismiss this claim with prejudice.

Henry, 701 N.W.2d at 689.

               2.      Plaintiffs fail to allege an injury to property.

       Plaintiffs allege, in conclusory fashion, that they have suffered “property damage”

(Compl. ¶ 222), but nowhere allege that their well water, or anything else on their property, has

tested positive for PFAS. As a matter of law, therefore, Plaintiffs plead no cognizable injury to

property and therefore may not recover for property damage.

       Henry again is dispositive. The Michigan Supreme Court held that “present harm to

person or property is a necessary prerequisite to a negligence claim.” Henry, 701 N.W.2d at 690

(emphasis added). The Court made clear that plaintiffs must allege that “they suffer from present

physical injuries to person or property” to recover under a negligence theory. Id. at 691; see also

Henry v. Dow Chem. Co., 905 N.W.2d 601 (Mich. 2018) (Order) (the “wrong” of property

damage “is done” when “the presence of dioxin” reached plaintiffs’ land); see also Adkins, 487

N.W.2d at 724, 727 (holding that contamination of groundwater in “general area” of plaintiffs’

property is not a cognizable property injury, even when accompanied by purported diminution of

plaintiffs’ property value).

       Plaintiffs do not allege that PFAS has reached their land. Under Henry, therefore, they

have not pleaded a cognizable injury to property. Accordingly, their negligence claims should be

dismissed on this alternative ground to the extent they seek recovery for property damage




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       E.      Plaintiffs fail to state a gross negligence claim.

       Plaintiffs’ gross negligence claim fails not only for the reasons discussed above, but also

because “Michigan law does not create an independent cause of action for gross negligence.”

Rogers v. Caruso, 2013 WL 1339684, at *3 (W.D. Mich. Mar. 29, 2013) (Jonker, J.) (citing Bletz

v. Gribble, 641 F.3d 743, 756 (6th Cir. 2011)); accord, e.g., Guertin, 2017 WL 2418007, at *30

(dismissing gross negligence claim in case arising from contaminated water because “gross

negligence is not an independent cause of action in Michigan”); Buckner v. Roy, 2015 WL

4936694, at *8 (E.D. Mich. Aug. 18, 2015); Van Buren v. Crawford Cty., 2014 WL 2217016, at

*10 (E.D. Mich. May 29, 2014); Mallory v. City of Ferndale, 2011 WL 891212, at *7 (E.D.

Mich. Mar. 11, 2011). For this reason alone, the Court should dismiss Plaintiffs’ claim.

       Even if gross negligence were a stand-alone claim, moreover, Plaintiffs do not plead it

here. “[E]vidence of ordinary negligence does not create a material question of fact concerning

gross negligence.” Reilly v. Vadlamudi, 680 F.3d 617, 627 (6th Cir. 2012) (quotation marks

omitted). Gross negligence “suggests, instead, almost a willful disregard of precautions or

measures to attend to safety and a singular disregard for substantial risks.” Id. (quotation marks

omitted). Thus, allegations that a defendant’s conduct fell below “industry standards” do not

support a claim for gross negligence. See Xu v. Gay, 668 N.W.2d 166, 171 (Mich. App. 2003).

And “[s]imply alleging that an actor could have done more is insufficient [to establish gross

negligence] under Michigan law, because, with the benefit of hindsight, a claim can always be

made that extra precautions could have influenced the result.” Tarlea v. Crabtree, 687 N.W.2d

333, 339 (Mich. App. 2004). Here, Plaintiffs merely repeat their negligence allegations and

perfunctorily add that the “Defendants’ failures to exercise reasonable care[] . . . were so reckless

as to demonstrate a substantial lack of concern for whether an injury would result.” Compl.




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¶ 231. Under Michigan law, this undeveloped allegation is not enough. Reilly, 680 F.3d at 627-

28; Tarlea, 687 N.W.2d at 339.

V.     Plaintiffs Fail To State A Products Liability Claim (Counts VII and VIII).

       A.      Plaintiffs do not allege facts to support a feasible alternative design.

       Plaintiffs’ design defect claim fails because they have not pleaded facts supporting the

existence of a feasible alternative design. Under Michigan product liability law, a “manufacturer

. . . is not liable unless the plaintiff establishes . . . that, according to generally accepted

production practices at the time the specific unit of the product left the control of the

manufacturer . . . , a practical and technically feasible alternative production practice was

available that would have prevented the harm without significantly impairing the usefulness or

desirability of the product to users and without creating equal or greater risk of harm to others.”

M.C.L. 600.2946(2); see Greene, 717 N.W.2d at 859 (statutory tort reform “displaced the

common law”).

       Plaintiffs parrot this legal standard by alleging, “[u]pon information and belief,” that

“alternative designs of Defendants’ products were and are available, reasonable, technologically

feasible and practical.” Compl. ¶ 242. But a conclusory recitation of a legal standard is

insufficient to state a claim. Plaintiffs do not identify these alternative designs, much less allege

that they would not have “significantly impair[ed] the usefulness or desirability of the product to

users.” Accordingly, Plaintiffs have not alleged all required elements under M.C.L. 600.2946(2).

       More than that, the allegation “fall[s] short” of federal pleading requirements because it

rests solely on unelaborated “information and belief.” In re Darvocet, Darvon, & Prophoxyphene

Prods. Liab. Litig., 756 F.3d 917, 931 (6th Cir. 2014). “The mere fact that someone believes

something to be true does not create a plausible inference that it is true.” Id. It is a “‘naked

assertion[] devoid of further factual enhancement’” that “contribute[s] nothing to the sufficiency


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of the complaint.” 16630 Southfield Ltd. P’Ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 506 (6th

Cir. 2013); accord, e.g., Reed v. Pfizer, Inc., 839 F. Supp. 2d 571, 578 (E.D.N.Y. 2012)

(dismissing state-law claim for failure to “plead facts alleging the existence of a feasible

alternative design”).

       B.      The complaint shows that 3M sold its products to a sophisticated user.

       Plaintiffs’ failure-to-warn claim likewise fails, for the complaint demonstrates that 3M

sold its product to a sophisticated user. Under Michigan law, “a manufacturer” generally “is not

liable in a product liability action for failure to provide an adequate warning if the product is

provided for use by a sophisticated user.” M.C.L. 600.2947(4). Michigan law defines a

“sophisticated user” as an “entity that, by virtue of training, experience, a profession, or legal

obligations, is or is generally expected to be knowledgeable about a product’s properties,

including a potential hazard or adverse effect.” Id. § 600.2945(j). And Michigan courts have held

that “[c]ommercial enterprises that use materials in bulk must be regarded as sophisticated users,

as a matter of law.” Aetna Cas. & Surety Co. v. Ralph Wilson Plastics Co., 509 N.W.2d 520, 523

(Mich. App. 1993).

       The Complaint alleges that the Mill has operated since 1909, including a landfill for

disposing of paper-making waste for the Mill and a nearby papermaking facility. Compl. ¶¶ 13-

14. The Complaint further alleges that the Mill used 3M’s PFAS and PFAS-containing products

in bulk in a commercial capacity, including as the “primary ingredient” in the production of

certain laminated products. See id. ¶¶ 91-93. Under Michigan law, therefore, the Mill and its

owner entities “must be regarded as sophisticated users[] as a matter of law.” Aetna Cas., 509

N.W.2d at 523. Indeed, the complaint alleges that Defendants, including Georgia Pacific, “knew

or should have known that the distribution, storage, and use of [PFAS] would likely contaminate

the environment and enter the water supply.” Compl. ¶ 248. That fulfills the statute’s


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requirement of a purchaser that “is or is generally expected to be knowledgeable about a

product’s properties, including a potential hazard or adverse effect.” M.C.L. 600.2945(j). Thus,

according to Plaintiffs’ own allegations, Georgia Pacific is a sophisticated user as a matter of

law, meaning 3M owed no duty to warn.

        Plaintiffs’ failure-to-warn claim also fails under M.C.L. 600.2948(2), which provides in

relevant part that “[a] defendant is not liable for failure to warn of a material risk that is or should

be obvious to a reasonably prudent product user.” Plaintiffs allege that “Defendants knew or

should have known that the distribution, storage, and use of [PFAS-containing products] would

likely contaminate the environment and enter the water supply, harming human health, property,

and the environment.” Compl. ¶ 248. In short, Plaintiffs allege that the “product user” either

knew or should have known of the alleged risks, and these allegations preclude liability against

3M under M.C.L. 600.2948(2).

VI.     Plaintiffs Fail To State A Battery Claim (Count IX).

        Plaintiffs’ claim for battery (Count IX) also fails as a matter of law. “[B]attery is the

willful and harmful or offensive touching of another person which results from an act intended to

cause such a contact.” Espinoza v. Thomas, 472 N.W.2d 16, 21 (Mich. App. 1991). This claim

fails for two independent reasons.

        A.      Plaintiffs do not allege a harmful “touching.”

        Contact with PFAS through drinking water and air vapor does not satisfy the “touching”

requirement of a battery claim. See Nolen v. Laura, 2017 WL 2704908, at *7 (Mich. App. June

22, 2017) (affirming dismissal of battery claim based on contact with diesel fumes despite

plaintiff’s argument that contact with particulate matter is a battery). In this regard, the Plaintiffs’

battery claim is analogous to trespass claims based on particulate matter landing on residents’




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property, a theory Michigan courts have squarely rejected. See Adams, 602 N.W.2d at 223; see

supra Section II.A.

       B.      Plaintiffs do not allege that 3M acted with the requisite intent.

       Plaintiffs also fail to allege that 3M intended to cause any touching. Battery’s intent

element is satisfied only when a defendant intends to injure the plaintiffs or “know[s] with

substantial certainty” that its actions “w[ill] cause a harmful contact to the . . . plaintiffs.”

Boumelhem v. Bic Corp., 535 N.W.2d 574, 579 (Mich. App. 1995). Thus, the question is not

whether 3M intended to sell its product that later injured Plaintiffs, but whether 3M intended to

cause offensive contact with Plaintiffs. See id. (holding that manufacturer of lighter did not

commit battery when its lighter burned children because it had no intent to injure them); Rose v.

Braciszewski, 2009 WL 3276431, at *5 (Mich. App. Oct. 13, 2009) (holding defendants not

liable for battery because, while “defendants intended to set the fires and start the automobiles

allegedly giving rise to [plaintiff’s] health complaints,” they did not take “those actions with the

intent to cause the smoke or fumes to come into contact with [plaintiff] or with the knowledge

that their actions were substantially certain to cause such contact”).

       3M’s only relevant, alleged “act” is “put[ting] in motion the chemicals that touched

Plaintiffs” at some later date. Compl. ¶ 257. Plaintiffs do not allege that 3M released PFAS into

the environment or intended to cause PFAS to contact Plaintiffs. Indeed, the word “intent” is

missing from Count IX. Nor do Plaintiffs allege that 3M knew with substantial certainly that

PFAS would contact Plaintiffs. And battery by negligence, or even gross negligence, does not

exist as a cause of action. Sudul v. City of Hamtramck, 562 N.W.2d 478, 479 (Mich. App. 1997).

VII.   Several of Plaintiffs’ Requests For Relief Fail As A Matter Of Law.

       Finally, Plaintiffs’ Prayer for Relief includes, among other things, requests for “[a]n order

declaring the conduct of Defendants unconstitutional,” for medical monitoring costs related to


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the alleged health risks caused by exposure to PFAS, and for attorney’s fees. Compl. at p. 36.

These forms of relief are unavailable as a matter of law, and Plaintiffs’ request for these

remedies should be stricken from the Complaint.

       First, Plaintiffs’ request to declare 3M’s conduct unconstitutional is baseless. Plaintiffs

do not allege any constitutional violations by 3M (or mention any constitutional provisions or

concepts in the complaint), and they do not bring claims for relief under 42 U.S.C. § 1983 or

similar statutes. Nor could they. 3M is not a state actor and did not act under color of state law

when it sold PFAS to private manufacturers. See Handy-Clay v. City of Memphis, 695 F.3d 531,

539 (6th Cir. 2012) (to state a claim for deprivation of constitutional rights under § 1983, “a

plaintiff must allege that a defendant acted under color of state law”). Because Plaintiffs’ request

for declaratory relief is therefore plainly inappropriate, that request should be stricken.

       Second, Plaintiffs’ request for medical monitoring is contrary to Michigan law. The

Michigan Supreme Court held in Henry, a case likewise involving exposure to a “potentially

hazardous” chemical, that a cause of action for medical monitoring “does not exist in Michigan.”

Henry, 701 N.W.2d at 685, 693. The Court explained that such a claim could “create a

potentially limitless pool of plaintiffs,” “drain resources needed to compensate those with

manifest physical injuries and a more immediate need for medical care,” and “wreak enormous

harm on Michigan’s citizens and its economy.” Id. at 694, 697; see People v. Woolfolk, 848

N.W.2d 169, 198 (Mich. App. 2014) (Henry “declin[ed] to recognize a cause of action

for medical monitoring”); accord Hendricks v. DSW Shoe Warehouse, Inc., 444 F. Supp. 2d 775,

783 (W.D. Mich. 2006).

       Although Plaintiffs do not assert a claim for medical monitoring among the nine causes

of action in their complaint, they cannot bring what amounts to the same claim through a




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backdoor request for relief on their other causes of action. Plaintiffs allege that they have been

exposed to hazardous substances that “significantly increase” their “risk of contracting one or

more diseases,” and therefore that it is “reasonably necessary for them to undergo periodic

diagnostic medical examinations.” Compl. ¶¶ 164-65. But Henry squarely held that such

allegations are insufficient to state a claim. Where, as here, a plaintiff’s only basis for a claim is

the allegation that “they may develop [contaminant]-related illnesses in the future,” medical

monitoring is unavailable under Michigan law. 701 N.W.2d at 691. The request for the same

relief rejected in Henry fails as a matter of law and should be stricken from the Complaint.

       Third, the Court should dismiss with prejudice Plaintiffs’ request for “[a]n award of

attorneys’ fees.” Compl. 34. Both Michigan and the federal courts follow “the ‘American rule’

with respect to the payment of attorney fees,” meaning that “attorney fees generally are not

recoverable from the losing party as costs in the absence of an exception set forth in a statute or

court rule expressly authorizing such an award.” Haliw v. City of Sterling Heights, 691 N.W.2d

753, 756 (Mich. 2005); accord Barnes v. Sun Chem. Corp., 164 F. Supp. 3d 994, 997-98 (W.D.

Mich. 2016). Furthermore, “any exception to the prevailing doctrine that attorney fees are not

recoverable must be narrowly construed.” Scott v. Hurd-Corrigan Moving & Storage Co., Inc.,

302 N.W.2d 867, 878 (Mich. App. 1981).

       Plaintiffs do not allege that any such exception applies here. Because no statute or court

rule “expressly authoriz[es]” an award of attorneys’ fees in this case, the Court should dismiss

with prejudice Plaintiffs’ requests for attorneys’ fees. Haliw, 691 N.W.2d at 756; see also

Children’s Ctr. for Developmental Enrichment v. Machle, 612 F.3d 518, 524 (6th Cir. 2010)

(affirming denial of attorneys’ fees in absence of “statute or enforceable contract” authorizing

award).




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                                        CONCLUSION

       For the foregoing reasons, Plaintiffs’ claims against 3M fail as a matter of law and should

be dismissed with prejudice.



Dated: January 18, 2019                          Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

       Pursuant to Local Civil Rule 7.2(b)(ii), the undersigned hereby certifies that this

Memorandum of Law in Support of Motion to Dismiss complies with the requirements of Local

Civil Rule 7.2(b). The length of this brief, determined using Microsoft Word 2016 and not

counting all words properly excluded under Rule 7.2(b)(i), is 6,350 words.



                                                    /s/ Richard Bulger___
                                                    Richard Bulger




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 18th day of January, 2019, I electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF system, which will send a

notice of electronic filing to all counsel registered with CM/ECF.



                                                     /s/ Richard Bulger___
                                                     Richard Bulger




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